           Case 1:23-cv-02790-DLI-LB Document 5 Filed 04/14/23 Page 1 of 3 PageID #: 19

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

   David Kennedy, on behalf of himself and others                    )
  similarly situated in the proposed FLSA Collective                 )
                          Action,                                    )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 23-cv-02790
                                                                     )
   Imperial Security and Consultants LLC, and John                   )
                        Myrtle,                                      )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See Rider Attached.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Levin-Epstein & Associates, P.C.
                                           60 East 42nd Street, Suite 4700
                                           New York, New York 10165




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK
                                                                                CL
                                                                                 LER
                                                                                   ERK    COURT
                                                                                     K OF C OURT
                                                                                            OU R
                                                                                               RT


Date:             04/14/2023
                                                                                          Signature
                                                                                          Sign
                                                                                          Si
                                                                                           ign
                                                                                             gnat
                                                                                               atur
                                                                                               at uree of C
                                                                                                  ur      Clerk
                                                                                                            lerk
                                                                                                            le rk oorr De
                                                                                                                       Depu
                                                                                                                       Deputy
                                                                                                                          puty
                                                                                                                          pu tyy C
                                                                                                                                 Clerk
                                                                                                                                   lerkk
            Case 1:23-cv-02790-DLI-LB Document 5 Filed 04/14/23 Page 2 of 3 PageID #: 20

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 23-cv-02790

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
   Case 1:23-cv-02790-DLI-LB Document 5 Filed 04/14/23 Page 3 of 3 PageID #: 21

                         LEVIN-EPSTEIN & ASSOCIATES, P.C.
  _____________________________________________________________________________________________
                         60 East 42nd Street • Suite 4700 • New York, New York 10165
                                T: 212.792-0046 • E: Joshua@levinepstein.com


                                                 RIDER



,PSHULDO6HFXULW\DQG&RQVXOWDQWV//&
(DVWWK6WUHHW%URRNO\Q1HZ<RUN

-RKQ0\UWOH
(DVWWK6WUHHW%URRNO\Q1HZ<RUN
